       Case 2:10-cr-00259-JAM Document 50 Filed 12/21/10 Page 1 of 3


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 5   Attorney for Defendant
     ATIF HENAN
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 9
                     IN THE UNITED STATES DISTRICT COURT
10
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA                      )
13                                                 )   NO. CR. S-10-259 FCD
                           Plaintiff,              )
14                                                 )   STIPULATION AND ORDER
          vs.                                      )   CONTINUING STATUS
15                                                 )   CONFERENCE
     ATIF HENAN,                                   )
16   ATEF SHEHATA,                                 )   DATE: January 10, 2011
     SAMY GIRGIS, and                                  TIME: 10:00 am
17   SOHEIR GIRGIS                                     COURT: Courtroom 2
                           Defendants.
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           IT IS HEREBY STIPULATED between the United States of America,
21
     through its undersigned counsel, Assistant U.S Attorney R. Steven Lapham, and
22
     defendants Atif Henan, through his undersigned counsel Alan Eisner, defendant
23
     Atef Shehata, through his undersigned counsel Assistant Federal Defender Dennis
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     Waks, defendant Samy Girgis, through his undersigned counsel Harvey Byron, and
25
     defendant Soheir Girgis, through her undersigned counsel John Blanchard, that the
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     status conference presently set for January 10, 2011 be continued to March 28,
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     2011 at 10:00 a.m., thus vacating the presently set status conference.
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      ______________________________________________________________
       Case 2:10-cr-00259-JAM Document 50 Filed 12/21/10 Page 2 of 3


 1         The parties stipulate and agree that the continuance is necessary to permit
 2   defense counsel to review discovery recently provided by the government
 3   numbering 17, 719 pages.
 4         The parties further stipulate and agree that this is a complex case within the
 5   meaning of 18 U.S.C. § 3161(h)(7)(B)(ii) and that the requested continuance is
 6   necessary to permit defense counsel reasonable time necessary for effective
 7   preparation, taking into account the exercise of due diligence, within the meaning
 8   of 18 U.S.C. § 3161(h)(7)(B)(iv) and that the ends of justice served by granting
 9   this continuance therefore outweigh the best interests of the public and the
10   defendants in a speedy trial. 18 U.S.C § 3161(h)(7)(A).
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13
14   Dated: December 17, 2010                       /s/ R. Steven Lapham
15                                                 R. STEVEN LAPHAM
                                                   Assistant U. S Attorney
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17
     Dated: December 17, 2010                      /s/ Alan Eisner
18
                                                  ALAN EISNER
19                                                Attorney for Defendant Atif Henan
20
21   Dated: December 17, 2010                      /s/ Atef Shehata
22                                                DENNIS WAKS
                                                  Assistant Federal Defender
23
                                                  Attorney for Defendant Atef Shehata
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25
     Dated: December 17, 2010                      /s/ Harvey Byron
26                                                HARVEY BYRON
27                                                Attorney for Defendant Samy Girgis
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      ______________________________________________________________
      Case 2:10-cr-00259-JAM Document 50 Filed 12/21/10 Page 3 of 3


 1   Dated: December 17, 2010                 /s/ John Blanchard
 2                                           JOHN BLANCHARD
                                             Attorney for Defendant Soheir Girgis
 3
 4
                                 ORDER
 5
 6
 7        IT IS SO ORDERED.
 8
     Dated: December 21, 2010       _______________________________________
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                                    FRANK C. DAMRELL, JR.
10                                  UNITED STATES DISTRICT JUDGE

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